      Case 1:20-cv-00742-DDD-KLM Document 325-3 Filed 08/17/22 USDC Colorado Page 1 of
8/17/22, 10:59 AM                            10of Actions and Party Information
                                        Register
      Register of Actions                                                                                                                                          EXHIBIT C
                   Filed by                       Case Number: 2018CV000050                                                          Division: 10
                   Plaintiff/Petitioner
                   Filed by
                                                     Case Type: Other                                                      Judicial Officer: Lance Phillip Timbreza
                   Defendant/Respondent
                   Filed by Court                 Case Caption: Montalbano, Alyssa-Chrystie et al v. Goode,                 Court Location: Mesa County
                                                                James Corey
                                                                                                                  Appellate Case Number: 2020CA1775 - Court of Appeals


       Filing ID         Date Filed         Authorizer         Organization       Filing Party        Document                           Document Title                         Document Security

       N/A (Details)     08/08/2022 12:00   N/A                N/A                Alpine Alpine       Affidavit                           Affidavit of Service- Served First    Public
                         AM                                                       Judgment Recovery                                       set of Interrogatories to Alyssa
                                                                                                                                          Christie Montalbano at 2222 Da
                                                                                                                                          Vinci Pl, Grand Junction, CO
                                                                                                                                          81507 on 7/27/22 at 3:06 pm

       N/A (Details)     08/05/2022 8:52 AM Brian Flynn        Mesa County        N/A                 Order                               Order:Objection to Order on           Public
                                                                                                      (Related Document)                  Motion to Transfer Interest and
                                                                                                                                          Amend Judgment

       N/A (Details)     07/27/2022 12:00   N/A                N/A                Alyssa-chrystie     Objection                           Objection to Order on Motion to       Public
                         AM                                                       Montalbano          (Related Document)                  Transfer Interest and Amend
                                                                                                                                          Judgment

       N/A (Details)     07/20/2022 12:00   Brian Flynn        Mesa County        N/A                 Order                               Order:Motion to Transfer Interest     Public
                         AM                                                                           (Related Document)                  and Amend Judgment

       N/A (Details)     07/08/2022 9:48 AM Non-Party          N/A                Non-Party           Motion                              Motion to Transfer Interest and       Public
                                                                                                      (Related Document)                  Amend Judgment

       N/A (Details)     03/22/2022 12:00   Lance Phillip      Mesa County        N/A                 Order                               Order on Appeal Costs                 Public
                         AM                 Timbreza

       N/A (Details)     01/11/2021 4:19 PM Non-Party          N/A                Non-Party           Mandate from Appeals Court          Mandate from Appeals Court            Public

       N/A (Details)     12/10/2020         Non-Party          N/A                Non-Party           Filing Other                        Filing Other                          Public

       N/A (Details)     11/24/2020 10:18   Brian Flynn        Mesa County        N/A                 Order                               Order:Filing Other                    Public
                         AM                                                                           (Related Document)

       N/A (Details)     11/19/2020 4:15 PM Non-Party          N/A                Non-Party           Filing Other                        Filing Other                          Public
                                                                                                      (Related Document)

       N/A (Details)     10/22/2020 4:31 PM Brian Flynn        Mesa County        N/A                 Order                               Order:Plaintiff's Objection to        Public
                                                                                                      (Related Document)                  9/15/2020 Orders for
                                                                                                                                          Constitutional Rights Violations

       N/A (Details)     10/19/2020 3:38 PM Non-Party          N/A                Non-Party           Advisory Notice - NAPF              Advisory Notice - NAPF                Public

       N/A (Details)     10/13/2020 2:35 PM N/A                N/A                Alyssa-chrystie     Notice of Appeal                    Notice of Appeal                      Public
                                                                                  Montalbano

       N/A (Details)     09/25/2020 12:00   N/A                N/A                Alyssa-chrystie     Objection                           Plaintiff's Objection to 9/15/2020    Public
                         PM                                                       Montalbano          (Related Document)                  Orders for Constitutional Rights
                                                                                                                                          Violations

       N/A (Details)     09/15/2020 2:37 PM Brian Flynn        Mesa County        N/A                 Order                               Order:Motion to Vacate Void           Public
                                                                                                      (Related Document)                  Judgment Persuant
                                                                                                                                          Colo.R.Civ.P.60(a) and (b)(2),(3):
                                                                                                                                          Colo.R.Civ.P.59

       N/A (Details)     09/15/2020 2:23 PM Brian Flynn        Mesa County        N/A                 Order                               Order:Notice of Disqualification of   Public
                                                                                                      (Related Document)                  Judge

       N/A (Details)     09/15/2020 2:20 PM Brian Flynn        Mesa County        N/A                 Order                               Order:Notice of Contitutional         Public
                                                                                                      (Related Document)                  Violations

       N/A (Details)     09/15/2020 2:17 PM N/A                N/A                Alyssa-chrystie     Filing Other                        Copy: Colorado Commission on          Sealed
                                                                                  Montalbano          (Related Document)                  Judicial Discipline Willful
                                                                                                                                          Misconduct and Presistent Failure
                                                                                                                                          to Perform Judical Duties
                                                                                                                                          Complaint

       N/A (Details)     09/15/2020 1:57 PM N/A                N/A                Alyssa-chrystie     Certificate                         Certificate of Service                Public
                                                                                  Montalbano          (Related Document)

       N/A (Details)     09/15/2020 1:52 PM N/A                N/A                Alyssa-chrystie     Notice                              Notice of Contitutional Violations    Public
                                                                                  Montalbano          (Related Document)

       N/A (Details)     09/15/2020 1:48 PM N/A                N/A                Alyssa-chrystie     Notice                              Notice of Written Correspondence      Public
                                                                                  Montalbano          (Related Document)

       N/A (Details)     08/21/2020 12:00   N/A                N/A                Alyssa-chrystie     Notice                              Notice of Disqualification of Judge   Public
                         AM                                                       Montalbano          (Related Document)

       N/A (Details)     08/19/2020 3:40 PM N/A                N/A                Alyssa-chrystie     Exhibit - Attach to Pleading/Doc    Exhibit CV Receipt Jury Fee           Protected
                                                                                  Montalbano          (Related Document)                  Payment

       N/A (Details)     08/19/2020 3:39 PM N/A                N/A                Alyssa-chrystie     Motion                              Motion to Vacate Void Judgment        Public
                                                                                  Montalbano          (Related Document)                  Persuant Colo.R.Civ.P.60(a) and
                                                                                                                                          (b)(2),(3): Colo.R.Civ.P.59

       N/A (Details)     08/05/2020 2:58 PM Brian Flynn        Mesa County        N/A                 Order                               Order: Motion to Void Judgement       Public
                                                                                                      (Related Document)                  Persuant Rule 60(b)(3),(4) and
                                                                                                                                          9(d)(3)- Denied




                                                                                                                                                                                                    1/10
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8/17/22, 10:59 AM                            10of Actions and Party Information
                                        Register
       Filing ID       Date Filed         Authorizer    Organization   Filing Party      Document                           Document Title
                                                                                                                                                     EXHIBIT C    Document Security

       N/A (Details)   08/05/2020 11:13   Brian Flynn   Mesa County    N/A               Order                              Order: Second Motion to Claim         Public
                       AM                                                                (Related Document)                 and Exercise Constituional Rights
                                                                                                                            and Require the Presiding Judge
                                                                                                                            to Rule Upon this Motion- Denied

       N/A (Details)   08/05/2020 11:12   Brian Flynn   Mesa County    N/A               Order                              Order: Amended and                    Public
                       AM                                                                (Related Document)                 Supplemental Complaint Under
                                                                                                                            Simplified Civil Procedure- Denied

       N/A (Details)   08/05/2020 11:12   Brian Flynn   Mesa County    N/A               Order                              Order: Motion for Citizen's           Public
                       AM                                                                (Related Document)                 Demand for Trial by Jury- Denied

       N/A (Details)   08/05/2020 11:10   Brian Flynn   Mesa County    N/A               Order                              Order: Motion for Judicial Notice-    Public
                       AM                                                                (Related Document)                 Denied

       N/A (Details)   08/05/2020 11:10   Brian Flynn   Mesa County    N/A               Order                              Order: Motion for Preliminary         Public
                       AM                                                                (Related Document)                 Injunction- Denied

       N/A (Details)   08/05/2020 10:58   Brian Flynn   Mesa County    N/A               Order                              Order:Motion for Judicial Notice      Public
                       AM                                                                (Related Document)

       N/A (Details)   08/05/2020 10:58   Brian Flynn   Mesa County    N/A               Order                              Order:Motion for Preliminary          Public
                       AM                                                                (Related Document)                 Injunction

       N/A (Details)   08/05/2020 10:56   Brian Flynn   Mesa County    N/A               Order                              Order:Amended and                     Public
                       AM                                                                (Related Document)                 Supplemental Complaint Under
                                                                                                                            Simplified Civil Procedure

       N/A (Details)   08/05/2020 10:54   Brian Flynn   Mesa County    N/A               Order                              Order:Motion to Void Order of         Public
                       AM                                                                (Related Document)                 Dismissal for Mistake, Misconduct,
                                                                                                                            and New Evidence and Motion for
                                                                                                                            Leave to File Amended Complaint

       N/A (Details)   08/05/2020 10:32   Brian Flynn   Mesa County    N/A               Order                              Order:Motion for Attorneys' Fees      Public
                       AM                                                                (Related Document)                 and Request for Hearing

       N/A (Details)   08/05/2020 10:24   Brian Flynn   Mesa County    N/A               Order                              Order:Motion to Deny Attorney         Public
                       AM                                                                (Related Document)                 Fees Due to Defendant Failure to
                                                                                                                            File Within 14 days

       N/A (Details)   08/05/2020 10:21   Brian Flynn   Mesa County    N/A               Order                              Order:Motion Demand Court Read        Public
                       AM                                                                (Related Document)                 all Pleadings Plaintiff Files with
                                                                                                                            this Court and Adhere to
                                                                                                                            Constitutionally Compliant Case
                                                                                                                            Law, and More Particularly the Bill
                                                                                                                            of Rights in its Ruling

       N/A (Details)   08/05/2020 10:16   Brian Flynn   Mesa County    N/A               Order                              Order:Motion for Citizen's Demand     Public
                       AM                                                                (Related Document)                 for Trial by Jury

       N/A (Details)   08/05/2020 10:15   Brian Flynn   Mesa County    N/A               Order                              Order:Motion for Extension of         Public
                       AM                                                                (Related Document)                 Time

       N/A (Details)   08/05/2020 10:12   Brian Flynn   Mesa County    N/A               Order                              Order:Second Motion to Claim          Public
                       AM                                                                (Related Document)                 and Exercise Constituional Rights
                                                                                                                            and Require the Presiding Judge
                                                                                                                            to Rule Upon this Motion

       N/A (Details)   08/05/2020 10:11   Brian Flynn   Mesa County    N/A               Order                              Order:Motion to Void Judgement        Public
                       AM                                                                (Related Document)                 Persuant Rule 60(b)(3),(4) and
                                                                                                                            9(d)(3)

       N/A (Details)   08/05/2020 10:09   Brian Flynn   Mesa County    N/A               Order                              Order:Motion to Recuse Persuant       Public
                       AM                                                                (Related Document)                 CRCP 97

       N/A (Details)   07/21/2020 1:59 PM N/A           N/A            Alyssa-chrystie   Notice                             Notice of Related Cases               Public
                                                                       Montalbano        (Related Document)

       N/A (Details)   07/21/2020 1:58 PM N/A           N/A            Alyssa-chrystie   Motion                             Motion for Judicial Notice            Public
                                                                       Montalbano        (Related Document)

       N/A (Details)   07/21/2020 1:56 PM N/A           N/A            Alyssa-chrystie   Brief                              Supplemental Brief for Motion to      Public
                                                                       Montalbano        (Related Document)                 Void Judgment

       N/A (Details)   07/21/2020 1:55 PM N/A           N/A            Alyssa-chrystie   Proposed Order                     Proposed Order for Preliminary        Public
                                                                       Montalbano        (Related Document)                 Injunction

       N/A (Details)   07/21/2020 1:55 PM N/A           N/A            Alyssa-chrystie   Motion                             Motion for Preliminary Injunction     Public
                                                                       Montalbano        (Related Document)

       N/A (Details)   07/21/2020 1:53 PM N/A           N/A            Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit CR                            Protected
                                                                       Montalbano        (Related Document)

       N/A (Details)   07/21/2020 1:52 PM N/A           N/A            Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit CH                            Protected
                                                                       Montalbano        (Related Document)

       N/A (Details)   07/21/2020 1:50 PM N/A           N/A            Alyssa-chrystie   Exhibit List                       Complaint Exhibit List                Public
                                                                       Montalbano        (Related Document)

       N/A (Details)   07/21/2020 1:49 PM N/A           N/A            Alyssa-chrystie   Complaint - Amended                Amended and Supplemental              Public
                                                                       Montalbano        (Related Document)                 Complaint Under Simplified Civil
                                                                                                                            Procedure

       N/A (Details)   07/21/2020 1:48 PM N/A           N/A            Alyssa-chrystie   Motion                             Motion to Void Order of Dismissal     Public
                                                                       Montalbano        (Related Document)                 for Mistake, Misconduct, and New
                                                                                                                            Evidence and Motion for Leave to
                                                                                                                            File Amended Complaint



                                                                                                                                                                                      2/10
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                                        Register
       Filing ID       Date Filed         Authorizer   Organization   Filing Party      Document                           Document Title
                                                                                                                                                    EXHIBIT C     Document Security

       N/A (Details)   07/21/2020 1:46 PM N/A          N/A            Alyssa-chrystie   Filing Other                       Email with Attached Pleadings          Public
                                                                      Montalbano

       N/A (Details)   03/23/2020 12:00   N/A          N/A            Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit CG                             Protected
                       AM                                             Montalbano        (Related Document)

       N/A (Details)   03/23/2020 12:00   N/A          N/A            Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit CF                             Protected
                       AM                                             Montalbano        (Related Document)

       N/A (Details)   03/23/2020 12:00   N/A          N/A            Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit CE                             Protected
                       AM                                             Montalbano        (Related Document)

       N/A (Details)   03/23/2020 12:00   N/A          N/A            Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit CC                             Protected
                       AM                                             Montalbano        (Related Document)

       N/A (Details)   03/23/2020 12:00   N/A          N/A            Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit CB (Only 14 pages filed)       Protected
                       AM                                             Montalbano        (Related Document)

       N/A (Details)   03/23/2020 12:00   N/A          N/A            Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit CA                             Protected
                       AM                                             Montalbano        (Related Document)

       N/A (Details)   03/23/2020 12:00   N/A          N/A            Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit BZ                             Protected
                       AM                                             Montalbano        (Related Document)

       N/A (Details)   03/23/2020 12:00   N/A          N/A            Alyssa-chrystie   Objection                          Plaintiff's Objection to Defendant's   Public
                       AM                                             Montalbano        (Related Document)                 Motion for Attorney's Fees and
                                                                                                                           Request for Hearing and Motion
                                                                                                                           for Attorney's Fees Pursuant Rule
                                                                                                                           60(b)(4)(3) and (d)(3)

       N/A (Details)   03/23/2020 12:00   N/A          N/A            Alyssa-chrystie   Exhibit List                       Exhibit List Objection to Attorneys'   Public
                       AM                                             Montalbano        (Related Document)                 Fees

       N/A (Details)   03/23/2020 12:00   N/A          N/A            Alyssa-chrystie   Objection                          Plaintiff's Second Objection to        Public
                       AM                                             Montalbano        (Related Document)                 Defendant's Motion for Attorney's
                                                                                                                           Fees and Request for Hearing and
                                                                                                                           Motion for Attorneys' Fees
                                                                                                                           Pursuant Rule 60(B)(1)(3),(4),(6)

       N/A             03/23/2020 12:00   N/A          N/A            N/A               Exhibit - Attach to Pleading/Doc   N/A
                       AM

       N/A (Details)   02/25/2020         N/A          N/A            James Corey       Affidavit                          Affidavit in Support of Defenant's     Public
                                                                      Goode             (Related Document)                 Motion for Attorney's Fees

       N/A (Details)   02/25/2020         N/A          N/A            James Corey       Motion                             Motion for Attorneys' Fees and         Public
                                                                      Goode             (Related Document)                 Request for Hearing

       N/A (Details)   02/25/2020         N/A          N/A            James Corey       Exhibit - Attach to Pleading/Doc   Civil Docket for Case #: 1:18-cv-      Protected
                                                                      Goode             (Related Document)                 2060-RM-GPG

       N/A (Details)   02/25/2020         N/A          N/A            James Corey       Exhibit - Attach to Pleading/Doc   Register of Actions and Party          Protected
                                                                      Goode             (Related Document)                 Information Pursuant to Rule 81.1

       N/A (Details)   02/25/2020         N/A          N/A            James Corey       Motion                             Motion for Attorneys' Fees             Public
                                                                      Goode             (Related Document)

       N/A (Details)   02/21/2020         N/A          N/A            Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit BV                             Protected
                                                                      Montalbano        (Related Document)

       N/A (Details)   02/21/2020         N/A          N/A            Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit BP                             Protected
                                                                      Montalbano        (Related Document)

       N/A (Details)   02/21/2020         N/A          N/A            Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit BO                             Protected
                                                                      Montalbano        (Related Document)

       N/A (Details)   02/21/2020         N/A          N/A            Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit BN                             Protected
                                                                      Montalbano        (Related Document)

       N/A (Details)   02/21/2020         N/A          N/A            Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit BM                             Protected
                                                                      Montalbano        (Related Document)

       N/A (Details)   02/21/2020         N/A          N/A            Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit BL                             Protected
                                                                      Montalbano        (Related Document)

       N/A (Details)   02/21/2020         N/A          N/A            Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit BK                             Protected
                                                                      Montalbano        (Related Document)

       N/A (Details)   02/21/2020         N/A          N/A            Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit BJ                             Protected
                                                                      Montalbano        (Related Document)

       N/A (Details)   02/21/2020         N/A          N/A            Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit BI                             Protected
                                                                      Montalbano        (Related Document)

       N/A (Details)   02/21/2020         N/A          N/A            Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit BH                             Protected
                                                                      Montalbano        (Related Document)

       N/A (Details)   02/21/2020         N/A          N/A            Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit BG                             Protected
                                                                      Montalbano        (Related Document)

       N/A (Details)   02/21/2020         N/A          N/A            Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit BF                             Protected
                                                                      Montalbano        (Related Document)

       N/A (Details)   02/21/2020         N/A          N/A            Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit BE                             Protected
                                                                      Montalbano        (Related Document)

       N/A (Details)   02/21/2020         N/A          N/A            Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit BD                             Protected
                                                                      Montalbano        (Related Document)



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                                        Register
       Filing ID       Date Filed   Authorizer   Organization   Filing Party      Document                           Document Title
                                                                                                                                              EXHIBIT C    Document Security

       N/A (Details)   02/21/2020   N/A          N/A            Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit BC                            Protected
                                                                Montalbano        (Related Document)

       N/A (Details)   02/21/2020   N/A          N/A            Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit BB Sample DV20                Protected
                                                                Montalbano        (Related Document)

       N/A (Details)   02/21/2020   N/A          N/A            Alyssa-chrystie   Exhibit List                       Exhibit List                          Public
                                                                Montalbano        (Related Document)

       N/A (Details)   02/21/2020   N/A          N/A            Alyssa-chrystie   Filing Other                       Fifith Informatin for the Court CIA   Public
                                                                Montalbano        (Related Document)

       N/A (Details)   02/21/2020   N/A          N/A            Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit - Attach to Pleading/Doc      Protected
                                                                Montalbano        (Related Document)

       N/A (Details)   02/21/2020   N/A          N/A            Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit BX                            Protected
                                                                Montalbano        (Related Document)

       N/A (Details)   02/21/2020   N/A          N/A            Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit BW                            Protected
                                                                Montalbano        (Related Document)

       N/A (Details)   02/21/2020   N/A          N/A            Alyssa-chrystie   Objection                          Objection to Defendants Motion        Public
                                                                Montalbano        (Related Document)                 for Extension of Time

       N/A             02/21/2020   N/A          N/A            N/A               Exhibit - Attach to Pleading/Doc   N/A

       N/A (Details)   02/18/2020   N/A          N/A            Alyssa-chrystie   Motion                             Motion to Deny Attorney Fees Due      Public
                                                                Montalbano        (Related Document)                 to Defendant Failure to File Within
                                                                                                                     14 days

       N/A (Details)   02/14/2020   N/A          N/A            James Corey       Motion                             Motion for Extension of Time          Public
                                                                Goode             (Related Document)

       N/A (Details)   02/12/2020   N/A          N/A            Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit BB Sample DV 19               Protected
                                                                Montalbano        (Related Document)

       N/A (Details)   02/12/2020   N/A          N/A            Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit BB Sample DV 18               Protected
                                                                Montalbano        (Related Document)

       N/A (Details)   02/12/2020   N/A          N/A            Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit BB Sample DV 17a              Protected
                                                                Montalbano        (Related Document)

       N/A (Details)   02/12/2020   N/A          N/A            Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit BB Sample DV 17               Protected
                                                                Montalbano        (Related Document)

       N/A (Details)   02/12/2020   N/A          N/A            Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit BB Sample DV 16               Protected
                                                                Montalbano        (Related Document)

       N/A (Details)   02/12/2020   N/A          N/A            Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit BB Sample DV 15a              Protected
                                                                Montalbano        (Related Document)

       N/A (Details)   02/12/2020   N/A          N/A            Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit BB Sample DV 15               Protected
                                                                Montalbano        (Related Document)

       N/A (Details)   02/12/2020   N/A          N/A            Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit BB Sample DV 14               Protected
                                                                Montalbano        (Related Document)

       N/A (Details)   02/12/2020   N/A          N/A            Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit BB Sample DV 13c              Protected
                                                                Montalbano        (Related Document)

       N/A (Details)   02/12/2020   N/A          N/A            Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit BB Sample DV 13b              Protected
                                                                Montalbano        (Related Document)

       N/A (Details)   02/12/2020   N/A          N/A            Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit BB Sample DV 13a              Protected
                                                                Montalbano        (Related Document)

       N/A (Details)   02/12/2020   N/A          N/A            Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit BB Sample DV 13               Protected
                                                                Montalbano        (Related Document)

       N/A (Details)   02/12/2020   N/A          N/A            Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit BB Sample DV 12               Protected
                                                                Montalbano        (Related Document)

       N/A (Details)   02/12/2020   N/A          N/A            Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit BB Sample DV 11               Protected
                                                                Montalbano        (Related Document)

       N/A (Details)   02/12/2020   N/A          N/A            Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit BB Sample DV 10               Protected
                                                                Montalbano        (Related Document)

       N/A (Details)   02/12/2020   N/A          N/A            Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit BB Sample DV 9                Protected
                                                                Montalbano        (Related Document)

       N/A (Details)   02/12/2020   N/A          N/A            Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit BB Sample DV 8                Protected
                                                                Montalbano        (Related Document)

       N/A (Details)   02/12/2020   N/A          N/A            Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit BB Sample DV 7                Protected
                                                                Montalbano        (Related Document)

       N/A (Details)   02/12/2020   N/A          N/A            Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit BB Sample DV 6                Protected
                                                                Montalbano        (Related Document)

       N/A (Details)   02/12/2020   N/A          N/A            Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit BB Sample DV5                 Protected
                                                                Montalbano        (Related Document)

       N/A (Details)   02/12/2020   N/A          N/A            Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit BB Sample DV4                 Protected
                                                                Montalbano        (Related Document)

       N/A (Details)   02/12/2020   N/A          N/A            Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit BB Sample DV3                 Protected
                                                                Montalbano        (Related Document)


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      Case 1:20-cv-00742-DDD-KLM Document 325-3 Filed 08/17/22 USDC Colorado Page 5 of
8/17/22, 10:59 AM                            10of Actions and Party Information
                                        Register
       Filing ID       Date Filed         Authorizer    Organization   Filing Party      Document                           Document Title
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       N/A (Details)   02/12/2020         N/A           N/A            Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit BB Samble DV2                 Protected
                                                                       Montalbano        (Related Document)

       N/A (Details)   02/12/2020         N/A           N/A            Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit BB Sample DV1                 Protected
                                                                       Montalbano        (Related Document)

       N/A (Details)   02/12/2020         N/A           N/A            Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit BB - Affidavit Tangibel       Protected
                                                                       Montalbano        (Related Document)                 Dream Vision Trade Secret
                                                                                                                            Evidene

       N/A (Details)   02/12/2020         N/A           N/A            Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit BA - Judge Flynn Oalth of     Protected
                                                                       Montalbano        (Related Document)                 Office

       N/A (Details)   02/12/2020         N/A           N/A            Alyssa-chrystie   Motion                             Motion Demand Court Read all          Public
                                                                       Montalbano        (Related Document)                 Pleadings Plaintiff Files with this
                                                                                                                            Court and Adhere to
                                                                                                                            Constitutionally Compliant Case
                                                                                                                            Law, and More Particularly the Bill
                                                                                                                            of Rights in its Ruling

       N/A (Details)   02/12/2020         N/A           N/A            Alyssa-chrystie   Motion                             Motion for Citizen's Demand for       Public
                                                                       Montalbano        (Related Document)                 Trial by Jury

       N/A (Details)   02/12/2020         N/A           N/A            Alyssa-chrystie   Motion                             Second Motion to Claim and            Public
                                                                       Montalbano        (Related Document)                 Exercise Constituional Rights and
                                                                                                                            Require the Presiding Judge to
                                                                                                                            Rule Upon this Motion

       N/A (Details)   02/12/2020         N/A           N/A            Alyssa-chrystie   Motion                             Motion to Recuse Persuant CRCP        Public
                                                                       Montalbano        (Related Document)                 97

       N/A (Details)   02/12/2020         N/A           N/A            Alyssa-chrystie   Motion                             Motion to Void Judgement              Public
                                                                       Montalbano        (Related Document)                 Persuant Rule 60(b)(3),(4) and
                                                                                                                            9(d)(3)

       N/A (Details)   01/29/2020 2:21 PM Brian Flynn   Mesa County    N/A               Order                              Order: Third Motion to Set Hearing    Public
                                                                                         (Related Document)                 for Motion to Amend Complaint
                                                                                                                            and Preliminary Injunction -
                                                                                                                            Denied

       N/A (Details)   01/29/2020 2:21 PM Brian Flynn   Mesa County    N/A               Order                              Order: Second Motion to Set           Public
                                                                                         (Related Document)                 Hearing for Motion to Amend
                                                                                                                            Complaint and Preliminary
                                                                                                                            Injuction - Denied

       N/A (Details)   01/29/2020 2:21 PM Brian Flynn   Mesa County    N/A               Order                              Order: Motion to Set Hearing for      Public
                                                                                         (Related Document)                 Motion to Amend Complaint and
                                                                                                                            Preliminary Injunction - Denied

       N/A (Details)   01/29/2020 2:20 PM Brian Flynn   Mesa County    N/A               Order                              Order: Plaintiff's Motion for         Public
                                                                                         (Related Document)                 Preliminary Injunction - Denied

       N/A (Details)   01/29/2020 2:20 PM Brian Flynn   Mesa County    N/A               Order                              Order: Motion for Leave of the        Public
                                                                                         (Related Document)                 Court to Amend the Complaint-
                                                                                                                            Denied

       N/A (Details)   01/29/2020 2:18 PM Brian Flynn   Mesa County    N/A               Order                              Order: Renewed Motion to              Public
                                                                                         (Related Document)                 Dismiss for Failure to State a
                                                                                                                            Complaint

       N/A             01/29/2020         N/A           N/A            N/A               Case Closed - Post Judgment        N/A

       N/A (Details)   01/22/2020         N/A           N/A            Alyssa-chrystie   Motion                             Third Motion to Set Hearing for       Public
                                                                       Montalbano        (Related Document)                 Motion to Amend Complaint and
                                                                                                                            Preliminary Injunction

       N/A (Details)   01/03/2020         N/A           N/A            Alyssa-chrystie   Motion                             Second Motion to Set Hearing for      Public
                                                                       Montalbano        (Related Document)                 Motion to Amend Complaint and
                                                                                                                            Preliminary Injuction

       N/A (Details)   11/01/2019 12:00   N/A           N/A            Alyssa-chrystie   Motion                             Motion to Set Hearing for Motion      Public
                       AM                                              Montalbano        (Related Document)                 to Amend Complaint and
                                                                                                                            Preliminary Injunction

       N/A (Details)   10/29/2019 2:51 PM Brian Flynn   Mesa County    N/A               Order                              Order: Motion to Rule on Motions      Public
                                                                                         (Related Document)

       N/A (Details)   09/09/2019 12:00   N/A           N/A            Alyssa-chrystie   Motion                             Motion to Rule on Motions             Public
                       AM                                              Montalbano        (Related Document)

       N/A (Details)   08/02/2019 12:00   N/A           N/A            Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit AY                            Suppressed
                       AM                                              Montalbano        (Related Document)

       N/A (Details)   08/02/2019 12:00   N/A           N/A            Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit AX                            Suppressed
                       AM                                              Montalbano        (Related Document)

       N/A (Details)   08/02/2019 12:00   N/A           N/A            Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit AW                            Suppressed
                       AM                                              Montalbano        (Related Document)

       N/A (Details)   08/02/2019 12:00   N/A           N/A            Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit AV                            Suppressed
                       AM                                              Montalbano        (Related Document)

       N/A (Details)   08/02/2019 12:00   N/A           N/A            Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit AU                            Suppressed
                       AM                                              Montalbano        (Related Document)

       N/A (Details)   08/02/2019 12:00   N/A           N/A            Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit AT                            Suppressed
                       AM                                              Montalbano        (Related Document)



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8/17/22, 10:59 AM                            10of Actions and Party Information
                                        Register
       Filing ID       Date Filed         Authorizer    Organization   Filing Party      Document                           Document Title
                                                                                                                                                     EXHIBIT C    Document Security

       N/A (Details)   08/02/2019 12:00   N/A           N/A            Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit AS                            Suppressed
                       AM                                              Montalbano        (Related Document)

       N/A (Details)   08/02/2019 12:00   N/A           N/A            Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit AR                            Suppressed
                       AM                                              Montalbano        (Related Document)

       N/A (Details)   08/02/2019 12:00   N/A           N/A            Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit AQ                            Suppressed
                       AM                                              Montalbano        (Related Document)

       N/A (Details)   08/02/2019 12:00   N/A           N/A            Alyssa-chrystie   Affidavit                          Affidavit of Alyssa Chrystie          Public
                       AM                                              Montalbano        (Related Document)                 Montalbano

       N/A (Details)   08/02/2019 12:00   N/A           N/A            Alyssa-chrystie   Proposed Order                     Proposed Order to Stop and            Public
                       AM                                              Montalbano        (Related Document)                 Desist Defamation, Stalking,
                                                                                                                            Harassment, and Unauthorized
                                                                                                                            Use of Trade Secrets

       N/A (Details)   08/02/2019 12:00   N/A           N/A            Alyssa-chrystie   Motion                             Plaintiff's Motion for Preliminary    Public
                       AM                                              Montalbano        (Related Document)                 Injunction

       N/A (Details)   08/02/2019 12:00   N/A           N/A            Alyssa-chrystie   Complaint - Amended                Amended Complaint Under               Public
                       AM                                              Montalbano        (Related Document)                 Simplified Civil Procedure

       N/A (Details)   08/02/2019 12:00   N/A           N/A            Alyssa-chrystie   Motion                             Motion for Leave of the Court to      Public
                       AM                                              Montalbano        (Related Document)                 Amend the Complaint

       N/A (Details)   06/10/2019 12:00   N/A           N/A            Alyssa-chrystie   Filing Other                       Statement of Jury Demand              Public
                       AM                                              Montalbano

       N/A (Details)   06/10/2019 12:00   N/A           N/A            Alyssa-chrystie   Objection                          Objection to Renewed Motion to        Public
                       AM                                              Montalbano        (Related Document)                 Dismiss for Failure to State a
                                                                                                                            Complaint

       N/A (Details)   06/07/2019 12:00   N/A           N/A            James Corey       Motion                             Renewed Motion to Dismiss for         Public
                       AM                                              Goode             (Related Document)                 Failure to State a Complaint

       N/A (Details)   06/07/2019 12:00   N/A           N/A            James Corey       Answer                             Answer to Amended Complaint           Public
                       AM                                              Goode             (Related Document)

       N/A (Details)   05/14/2019 3:29 PM Brian Flynn   Mesa County    N/A               Order                              ORDER RE: PENDING MOTIONS             Public

       N/A (Details)   03/29/2019 12:00   N/A           N/A            Alyssa-chrystie   Filing Other                       Supplemental to Affidavit of Alyssa   Public
                       AM                                              Montalbano        (Related Document)                 Chrystie Montalbano

       N/A (Details)   03/25/2019 12:00   N/A           N/A            Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit AP - Deft and Associate       Protected
                       AM                                              Montalbano        (Related Document)                 Facebook Defamatory Posts (2
                                                                                                                            Pgs)

       N/A (Details)   03/25/2019 12:00   N/A           N/A            Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit AO - Deft Defamation Post     Protected
                       AM                                              Montalbano        (Related Document)                 Publically Disclosing Private Legal
                                                                                                                            Communications (3 pgs)

       N/A (Details)   03/25/2019 12:00   N/A           N/A            Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit AN - Private Email to Ms.     Protected
                       AM                                              Montalbano        (Related Document)                 Yanaros Wilde from Plft and Index
                                                                                                                            Dream Visions (4 Pgs)

       N/A (Details)   03/25/2019 12:00   N/A           N/A            Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit AM - Defendant Facebook       Protected
                       AM                                              Montalbano        (Related Document)                 Post PO (2 Pgs)

       N/A (Details)   03/25/2019 12:00   N/A           N/A            Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit AL - Defendant Use of         Protected
                       AM                                              Montalbano        (Related Document)                 Pltf's Art (8 pgs)

       N/A (Details)   03/25/2019 12:00   N/A           N/A            Alyssa-chrystie   Affidavit                          Affidavit of Alyssa Chrystie          Public
                       AM                                              Montalbano        (Related Document)                 Montalbano

       N/A (Details)   03/25/2019 12:00   N/A           N/A            Alyssa-chrystie   Proposed Order                     Proposed Preliminary Injuction        Public
                       AM                                              Montalbano        (Related Document)

       N/A (Details)   03/25/2019 12:00   N/A           N/A            Alyssa-chrystie   Motion                             Pltf Verified Original Motion for     Public
                       AM                                              Montalbano        (Related Document)                 Temporary Restraining Order,
                                                                                                                            Preliminary Injuction, and
                                                                                                                            Permanent Injunction

       N/A (Details)   03/01/2019         N/A           N/A            Alyssa-chrystie   Notice                             Notice of Withdrawal of Motion for    Public
                                                                       Montalbano        (Related Document)                 Leave of the Court to Amend the
                                                                                                                            Complaint

       N/A (Details)   02/27/2019         N/A           N/A            Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit AK - CIA Project Bluebird     Protected
                                                                       Montalbano        (Related Document)

       N/A (Details)   02/27/2019         N/A           N/A            Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit AJ -Pre-Litigation            Protected
                                                                       Montalbano        (Related Document)                 Complaint And Mailings

       N/A (Details)   02/27/2019         N/A           N/A            Alyssa-chrystie   Complaint w/Jury Demand            Complaint w/Jury Demand               Public
                                                                       Montalbano        (Related Document)

       N/A (Details)   02/19/2019         N/A           N/A            Alyssa-chrystie   Filing Other                       Fourth Information for the Court      Public
                                                                       Montalbano                                           Defendant Threatening Potential
                                                                                                                            Witnesses

       N/A (Details)   02/15/2019         N/A           N/A            Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit AG - Gang Stalking            Protected
                                                                       Montalbano        (Related Document)                 Whistleblower

       N/A (Details)   02/15/2019         N/A           N/A            Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit AF - Unirock Exposes CG       Protected
                                                                       Montalbano        (Related Document)                 Troll Doxxing

       N/A (Details)   02/15/2019         N/A           N/A            Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit AE - Ms Yanaros Wilde         Protected
                                                                       Montalbano        (Related Document)                 Legally Threatening Jason Rice


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8/17/22, 10:59 AM                            10of Actions and Party Information
                                        Register
       Filing ID       Date Filed         Authorizer    Organization   Filing Party      Document                           Document Title
                                                                                                                                                      EXHIBIT C    Document Security

       N/A (Details)   02/15/2019         N/A           N/A            Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit AD - Fan Defamation            Protected
                                                                       Montalbano        (Related Document)                 Meme

       N/A (Details)   02/15/2019         N/A           N/A            Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit AC - GC Doxxing Exposed        Protected
                                                                       Montalbano        (Related Document)

       N/A (Details)   02/15/2019         N/A           N/A            Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit AB - Defendant Update          Protected
                                                                       Montalbano        (Related Document)                 and Plaintiff Dream Vision

       N/A (Details)   02/15/2019         N/A           N/A            Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Definition of Gang Stalking            Protected
                                                                       Montalbano        (Related Document)

       N/A (Details)   02/15/2019         N/A           N/A            Alyssa-chrystie   Filing Other                       Third Information for the Court        Public
                                                                       Montalbano        (Related Document)                 Doxxing and Gang Stalking

       N/A (Details)   02/05/2019         N/A           N/A            Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit Z - Darling International v    Protected
                                                                       Montalbano                                           Good

       N/A (Details)   02/05/2019         N/A           N/A            Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit Y - Photo of Plaintiff         Protected
                                                                       Montalbano        (Related Document)

       N/A (Details)   02/05/2019         N/A           N/A            Alyssa-chrystie   Reply                              Reply to Defendant's Repsonse to       Public
                                                                       Montalbano        (Related Document)                 Plaintiff's Motion to Impose
                                                                                                                            Sanctions on Defendant

       N/A (Details)   01/30/2019         N/A           N/A            Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit X                              Protected
                                                                       Montalbano        (Related Document)

       N/A (Details)   01/30/2019         N/A           N/A            Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit W                              Protected
                                                                       Montalbano        (Related Document)

       N/A (Details)   01/30/2019         N/A           N/A            Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit V                              Protected
                                                                       Montalbano        (Related Document)

       N/A (Details)   01/30/2019         N/A           N/A            Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit U - Photo                      Protected
                                                                       Montalbano        (Related Document)

       N/A (Details)   01/30/2019         N/A           N/A            Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit T                              Protected
                                                                       Montalbano        (Related Document)

       N/A (Details)   01/30/2019         N/A           N/A            Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit S                              Protected
                                                                       Montalbano        (Related Document)

       N/A (Details)   01/30/2019         N/A           N/A            Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit R - Civil Docket Federal       Protected
                                                                       Montalbano        (Related Document)                 Court

       N/A (Details)   01/30/2019         N/A           N/A            Alyssa-chrystie   Reply                              Reply to Defendant's Reponse to        Public
                                                                       Montalbano        (Related Document)                 Pltf Motion to Set Hearing

       N/A (Details)   01/23/2019         N/A           N/A            Alyssa-chrystie   Filing Other                       Second Information for the Court       Public
                                                                       Montalbano

       N/A (Details)   01/23/2019         N/A           N/A            Alyssa-chrystie   Filing Other                       Information for the Court              Public
                                                                       Montalbano

       N/A (Details)   01/10/2019         N/A           N/A            Alyssa-chrystie   Motion                             Motion to Seal Case to Protect         Public
                                                                       Montalbano                                           Trade Secrets

       N/A (Details)   01/02/2019         N/A           N/A            James Corey       Exhibit - Attach to Pleading/Doc   Exhibit A - US Magistrate Judge        Protected
                                                                       Goode             (Related Document)                 Recommendations

       N/A (Details)   01/02/2019         N/A           N/A            James Corey       Response                           Response to Plaintiff's Motion to      Public
                                                                       Goode             (Related Document)                 Impose Sanctions on Defendant

       N/A (Details)   01/02/2019         N/A           N/A            James Corey       Response                           Response to Plaintiff's Motion to      Public
                                                                       Goode             (Related Document)                 Set Hearing

       N/A (Details)   01/02/2019         N/A           N/A            James Corey       Response                           Response to Plaintiff's Motion to      Public
                                                                       Goode             (Related Document)                 Impose Sanctions on Defendant

       N/A (Details)   12/27/2018         N/A           N/A            Alyssa-chrystie   Proposed Order                     Proposed Order For Declartory          Public
                                                                       Montalbano        (Related Document)                 Injuctive Relief

       N/A (Details)   12/27/2018         N/A           N/A            Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit Re Motion for Permanent        Protected
                                                                       Montalbano        (Related Document)                 Injunctive Relief Verified
                                                                                                                            Complaint

       N/A (Details)   12/27/2018         N/A           N/A            Alyssa-chrystie   Motion                             Motion for Permanent Injunctive        Public
                                                                       Montalbano        (Related Document)                 Relief

       N/A (Details)   12/11/2018 3:35 PM Brian Flynn   Mesa County    N/A               Order                              Order: Motion to Authorize Plaintiff   Public
                                                                                         (Related Document)                 and File Electronically

       N/A (Details)   12/11/2018         N/A           N/A            Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit RE Motion to Impose            Protected
                                                                       Montalbano        (Related Document)                 Sanctions on Defendant

       N/A (Details)   12/11/2018         N/A           N/A            Alyssa-chrystie   Motion                             Motion to Impose Sanctions on          Public
                                                                       Montalbano        (Related Document)                 Defendant

       N/A (Details)   12/11/2018         N/A           N/A            Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit RE Motion to Set               Protected
                                                                       Montalbano        (Related Document)                 Scheduling Hearing CIA Russell
                                                                                                                            Targ

       N/A (Details)   12/11/2018         N/A           N/A            Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibits Re Motionto Set               Protected
                                                                       Montalbano        (Related Document)                 Scheduling Hearing Amended
                                                                                                                            Greivance




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8/17/22, 10:59 AM                            10of Actions and Party Information
                                        Register
       Filing ID       Date Filed         Authorizer    Organization   Filing Party      Document                           Document Title
                                                                                                                                                    EXHIBIT C    Document Security

       N/A (Details)   12/11/2018         N/A           N/A            Alyssa-chrystie   Motion                             Motion to Set Scheduling Hearing     Public
                                                                       Montalbano        (Related Document)

       N/A (Details)   12/11/2018         N/A           N/A            Alyssa-chrystie   Motion                             Motion to Authorize Plaintiff and    Public
                                                                       Montalbano        (Related Document)                 File Electronically

       N/A (Details)   12/05/2018 3:17 PM Brian Flynn   Mesa County    N/A               Order                              ORDER REOPENING THE CASE             Public
                                                                                         (Related Document)

       N/A             12/05/2018         N/A           N/A            N/A               Reopen - Post Judgment             N/A

       N/A (Details)   12/04/2018         N/A           N/A            Alyssa-chrystie   Filing Other                       United States District Of Colorado   Public
                                                                       Montalbano        (Related Document)                 Order

       N/A (Details)   11/27/2018 3:46 PM Brian Flynn   Mesa County    N/A               Order                              ORDER CLOSING THE CASE AS            Public
                                                                                                                            THE NOTICE OF REMOVAL
                                                                                                                            LEFT THIS COURT WITHOUT
                                                                                                                            JURISDICTION TO ACT ON
                                                                                                                            PLAINTIFF'S PENDING
                                                                                                                            MOTIONS

       N/A             11/27/2018         N/A           N/A            N/A               Case Closed                        N/A

       N/A (Details)   11/13/2018         N/A           N/A            Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit - Attach to Pleading/Doc     Protected
                                                                       Montalbano        (Related Document)

       N/A (Details)   11/13/2018         N/A           N/A            Alyssa-chrystie   Complaint - Amended                Amended Complaint Under              Public
                                                                       Montalbano                                           Simplified Civil Procedure

       N/A (Details)   11/13/2018         N/A           N/A            Alyssa-chrystie   Motion                             Motion for Leave of the Court to     Public
                                                                       Montalbano        (Related Document)                 Amend the Complaint

       N/A (Details)   09/11/2018 12:00   N/A           N/A            Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit - Q                          Protected
                       AM                                              Montalbano        (Related Document)

       N/A (Details)   09/11/2018 12:00   N/A           N/A            Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit - P                          Protected
                       AM                                              Montalbano        (Related Document)

       N/A (Details)   09/11/2018 12:00   N/A           N/A            Alyssa-chrystie   Objection                          Objection to First Motion for        Public
                       AM                                              Montalbano        (Related Document)                 Extension of Time to File Court
                                                                                                                            Register of the State Court Action
                                                                                                                            No. 18CV50

       N/A (Details)   09/06/2018 12:00   N/A           N/A            Alyssa-chrystie   Objection                          Objection to Notice of Removal       Public
                       AM                                              Montalbano        (Related Document)

       N/A (Details)   08/30/2018 12:00   N/A           N/A            Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit M - Attach to Pleading/Doc   Protected
                       AM                                              Montalbano        (Related Document)

       N/A (Details)   08/30/2018 12:00   N/A           N/A            Alyssa-chrystie   Objection                          Objection to Reply to Plaintiff's    Public
                       AM                                              Montalbano        (Related Document)                 Response to Mr. Goode's Motion
                                                                                                                            to Dismiss for Failure to State a
                                                                                                                            Complaint

       N/A (Details)   08/30/2018 12:00   N/A           N/A            Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit O - Attach to Pleading/Doc   Protected
                       AM                                              Montalbano        (Related Document)

       N/A (Details)   08/30/2018 12:00   N/A           N/A            Alyssa-chrystie   Motion                             Motion to Set Hearing Date           Public
                       AM                                              Montalbano        (Related Document)

       N/A (Details)   08/28/2018 12:00   N/A           N/A            James Corey       Exhibit - Attach to Pleading/Doc   Document 12-2 (7 Pages)              Protected
                       AM                                              Goode             (Related Document)

       N/A (Details)   08/28/2018 12:00   N/A           N/A            James Corey       Exhibit - Attach to Pleading/Doc   Document 12-1 (60 Pages)             Protected
                       AM                                              Goode             (Related Document)

       N/A (Details)   08/28/2018 12:00   N/A           N/A            James Corey       Exhibit - Attach to Pleading/Doc   Document 12 (3 Pages)                Protected
                       AM                                              Goode             (Related Document)

       N/A (Details)   08/28/2018 12:00   N/A           N/A            James Corey       Exhibit - Attach to Pleading/Doc   Document 1-4 (2 Pages)               Protected
                       AM                                              Goode

       N/A (Details)   08/28/2018 12:00   N/A           N/A            James Corey       Exhibit - Attach to Pleading/Doc   Document 1-3 (11 Pages)              Protected
                       AM                                              Goode             (Related Document)

       N/A (Details)   08/28/2018 12:00   N/A           N/A            James Corey       Exhibit - Attach to Pleading/Doc   Document 1-2 (8 Pages)               Protected
                       AM                                              Goode             (Related Document)

       N/A (Details)   08/28/2018 12:00   N/A           N/A            James Corey       Exhibit - Attach to Pleading/Doc   Document 1-1 (7 pgs)                 Protected
                       AM                                              Goode             (Related Document)

       N/A (Details)   08/28/2018 12:00   N/A           N/A            James Corey       Notice                             Notice of Removal                    Public
                       AM                                              Goode             (Related Document)

       N/A (Details)   08/28/2018 12:00   N/A           N/A            James Corey       Letter                             Letter from Atty Valerie Yanaros     Public
                       AM                                              Goode

       N/A (Details)   08/13/2018 12:00   N/A           N/A            Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit L - Attachment to Status     Suppressed
                       AM                                              Montalbano        (Related Document)                 Report

       N/A (Details)   08/13/2018 12:00   N/A           N/A            Alyssa-chrystie   Report                             Status Report                        Public
                       AM                                              Montalbano        (Related Document)

       N/A (Details)   07/31/2018 12:00   N/A           N/A            James Corey       Reply                              Reply to Plaintiff's Repsonse to     Public
                       AM                                              Goode             (Related Document)                 Mr. Goode's Motion to Dismiss for
                                                                                                                            Failure to State a Complaint




                                                                                                                                                                                     8/10
      Case 1:20-cv-00742-DDD-KLM Document 325-3 Filed 08/17/22 USDC Colorado Page 9 of
8/17/22, 10:59 AM                            10of Actions and Party Information
                                        Register
       Filing ID         Date Filed          Authorizer               Organization          Filing Party      Document                           Document Title
                                                                                                                                                                          EXHIBIT C    Document Security

       N/A (Details)     07/18/2018 12:00    N/A                      N/A                   Alyssa-chrystie   Motion                             Motion to Claim and Exercize           Public
                         AM                                                                 Montalbano                                           Constitutional Rights and Require
                                                                                                                                                 the Presiding Judge to Rule upon
                                                                                                                                                 the Motion and All Public Officers
                                                                                                                                                 of this Court to Uphold Said Rights

       N/A (Details)     07/18/2018 12:00    N/A                      N/A                   Alyssa-chrystie   Reply                              Reply to Defendant's Motion to         Public
                         AM                                                                 Montalbano        (Related Document)                 Dismiss for Failure to State a
                                                                                                                                                 Complaint

       N/A (Details)     07/18/2018 12:00    Lance Phillip            Mesa County           N/A               Order                              Order for Service by Publication       Public
                         AM                  Timbreza

       N/A (Details)     07/17/2018 12:00    N/A                      N/A                   James Corey       Motion to Dismiss                  Motion to Dismiss                      Public
                         AM                                                                 Goode             (Related Document)

       N/A (Details)     07/03/2018 12:00    N/A                      N/A                   Alyssa-chrystie   Proposed Order                     For Service by Publication             Public
                         AM                                                                 Montalbano        (Related Document)

       N/A (Details)     07/03/2018 12:00    N/A                      N/A                   Alyssa-chrystie   Affidavit                          Affidavit in Support of Order for      Public
                         AM                                                                 Montalbano        (Related Document)                 Service by Publication

       N/A (Details)     06/25/2018 12:00    N/A                      N/A                   Alyssa-chrystie   Certificate                        Certificate of Service                 Public
                         AM                                                                 Montalbano

       N/A (Details)     06/25/2018 12:00    N/A                      N/A                   Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit - K                            Protected
                         AM                                                                 Montalbano

       N/A (Details)     06/25/2018 12:00    N/A                      N/A                   Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit - J                            Protected
                         AM                                                                 Montalbano

       N/A (Details)     06/25/2018 12:00    N/A                      N/A                   Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit - I                            Protected
                         AM                                                                 Montalbano

       N/A (Details)     06/25/2018 12:00    N/A                      N/A                   Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit - H                            Protected
                         AM                                                                 Montalbano

       N/A (Details)     06/25/2018 12:00    N/A                      N/A                   Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit - G                            Protected
                         AM                                                                 Montalbano

       N/A (Details)     06/25/2018 12:00    N/A                      N/A                   Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit - F                            Protected
                         AM                                                                 Montalbano

       N/A (Details)     06/25/2018 12:00    N/A                      N/A                   Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit - E                            Protected
                         AM                                                                 Montalbano

       N/A (Details)     06/25/2018 12:00    N/A                      N/A                   Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit - D                            Protected
                         AM                                                                 Montalbano

       N/A (Details)     06/25/2018 12:00    N/A                      N/A                   Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit - C                            Protected
                         AM                                                                 Montalbano

       N/A (Details)     06/25/2018 12:00    N/A                      N/A                   Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit - B                            Protected
                         AM                                                                 Montalbano

       N/A (Details)     06/25/2018 12:00    N/A                      N/A                   Alyssa-chrystie   Exhibit - Attach to Pleading/Doc   Exhibit - A                            Protected
                         AM                                                                 Montalbano

       N/A (Details)     06/25/2018 12:00    N/A                      N/A                   Alyssa-chrystie   Affidavit                          Affidavit of Truth                     Public
                         AM                                                                 Montalbano

       N/A (Details)     06/25/2018 12:00    N/A                      N/A                   Alyssa-chrystie   Brief                              Memorandum Brief                       Public
                         AM                                                                 Montalbano

       N/A (Details)     06/25/2018 12:00    N/A                      N/A                   Alyssa-chrystie   Certificate                        Certificate of Service                 Public
                         AM                                                                 Montalbano

       N/A (Details)     06/25/2018 12:00    N/A                      N/A                   Alyssa-chrystie   Proposed Order                     Proposed Order Re: Cease and           Public
                         AM                                                                 Montalbano                                           Desist

       N/A (Details)     06/25/2018 12:00    N/A                      N/A                   Alyssa-chrystie   Exhibit List                       Exhibit List                           Public
                         AM                                                                 Montalbano

       N/A (Details)     06/25/2018 12:00    N/A                      N/A                   Alyssa-chrystie   Filing Other                       Table of Contents                      Public
                         AM                                                                 Montalbano

       N/A (Details)     06/25/2018 12:00    N/A                      N/A                   Alyssa-chrystie   Motion for Default Judgment        Motion for Default Judgment            Public
                         AM                                                                 Montalbano

       N/A (Details)     06/25/2018 12:00    N/A                      N/A                   Alyssa-chrystie   Civil Case Cover Sheet             Civil Case Cover Sheet                 Public
                         AM                                                                 Montalbano

       N/A (Details)     06/25/2018 12:00    N/A                      N/A                   Alyssa-chrystie   Summons                            Summons                                Public
                         AM                                                                 Montalbano

       N/A (Details)     06/25/2018 12:00    N/A                      N/A                   Alyssa-chrystie   Complaint                          Complaint                              Public
                         AM                                                                 Montalbano




      Party Information
       Party Name                                                 Party Type                                          Party Status                         Attorney Name

       Alpine Alpine Judgment Recovery                            Plaintiff                                           Active                               N/A

       Alyssa-chrystie Montalbano                                 Plaintiff                                           Active                               N/A

       James Corey Goode                                          Defendant                                           Active                               N/A




      Final Judgments
       Judgment Date Judicial Officer Judgment Type          Status           Creditor(s)                                            Debtor(s)                  Date Entered Fee Type               Amount

       08/05/2020       Brian Flynn      Judgment Entered UNSATISFIED James Corey Goode, Alpine Alpine Judgment Recovery Alyssa-chrystie Montalbano 08/05/2020                PRINCIPAL             $0.00



                                                                                                                                                                                                             9/10
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8/17/22, 10:59 AM                            10of Actions and Party Information
                                        Register
       Judgment Date Judicial Officer Judgment Type   Status   Creditor(s)   Debtor(s)
                                                                                                      EXHIBIT C
                                                                                         Date Entered Fee Type        Amount

                                                                                         08/05/2020    COURT COSTS    $0.00

                                                                                         08/05/2020    ATTORNEY FEES $116600.00

                                                                                         08/05/2020    INTEREST       $0.00

                                                                                                       Total          $116600.00




                                                                                                                                   10/10
